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                       IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA,                         *
                                                  *
                      Plaintiff,                  *
                                                  *
                                                  *
vs.                                               *          No. 4:10-cr-00188-1-SWW
                                                  *       (No. 4:13-cv-00651-SWW)
                                                  *
                                                  *
                                                  *
MARCELINO AHUMADA VARGAS                          *
aka “Shorty,”                                     *
                                                  *
                      Defendant.                  *

                                              ORDER

       Before the Court is a motion [doc.#443] of Marcelino Ahumada Vargas aka “Shorty” for

a certificate of appealability from the Court’s denial of his pro se motion to vacate, set aside, or

correct sentence pursuant to 28 U.S.C. § 2255. To obtain a certificate of appealability on claims

for § 2255 relief, Vargas must make “a substantial showing of the denial of a Constitutional

right.” 28 U.S.C. § 2253(c)(2). A substantial showing is a showing that the issues are debatable

among reasonable jurists, a court could resolve the issues differently, or the issues deserve

further proceedings. Carson v. Director of the Iowa Dept. of Correctional Services, 150 F.3d

973, 975 (8th Cir. 1998). After reviewing the record in this case, this Court determines that

Vargas has failed to make the required substantial showing of the denial of a Constitutional right

and that his motion seeking a certificate of appealability should be and hereby is denied.

                               IT IS SO ORDERED this 28th day of January 2014.

                                               /s/Susan Webber Wright
                                               UNITED STATES DISTRICT JUDGE
